                  Case 3:18-bk-01164-JAF                 Doc 2   Filed 04/11/18   Page 1 of 2
[D11dipob] [Order Authorizing DIP to Operate Business]




                                          ORDERED.
Dated: April 11, 2018




                                   UNITED STATES BANKRUPTCY COURT
                                      MIDDLE DISTRICT OF FLORIDA
                                        JACKSONVILLE DIVISION
                                           www.flmb.uscourts.gov



In re:                                                                   Case No. 3:18−bk−01164−JAF
                                                                         Chapter 11
Eihab H. Tawfik, M.D., P.A.
dba Christ Medical Center
dba Town Center Medical Celebration



________Debtor*________/

                             ORDER AUTHORIZING DEBTOR−IN−POSSESSION
                                      TO OPERATE BUSINESS

   Debtor, having filed this Chapter 11 case, shall have the duties and authorizations described in 11 U.S.C. §
1108 and Local Rule 2081−1 and as set forth herein. Accordingly, it is
   ORDERED:

   1. Operation of Business. Debtor shall continue in possession and control of its property and as debtor in
possession may operate its business pursuant to 11 U.S.C. § 1108. Debtor is authorized to pay all necessary
and current expenses of operating its business, including taxes incurred in the operation of the business or
imposed on its property, to the extent that such payments are post−petition obligations and are necessary to
preserve the assets or operate the business. Subject to the provisions of 11 U.S.C. §§ 363 and 365, Debtor may
use, sell, or lease property of the estate.

   2. Debtor−in−Possession Bank Accounts. Consistent with 11 U.S.C. § 345, Debtor is authorized and
directed to open and maintain debtor−in−possession bank accounts for the deposit, investment, and
disbursement of monies of the estate.

   3.    Insurance. Debtor shall maintain insurance customary and appropriate to Debtor's industry.

   4. Tax Returns. No later than 30 days from the date of service of this Order, Debtor shall file with the
appropriate agency any delinquent federal or state tax return for any tax period. Debtor shall timely file all
federal and state tax returns required to be filed after the commencement of this case and shall timely pay all
personal federal and state taxes that are due and payable after the commencement of this case. Debtor shall
maintain copies of all tax returns, reports, and proof of all payments and make these available upon request for
inspection by any representative of the appropriate taxing agency, the United States Trustee, or any trustee
appointed in this case.
                 Case 3:18-bk-01164-JAF            Doc 2     Filed 04/11/18       Page 2 of 2
   5. Tax Deposits. Within three business days following the end of all pay periods, Debtor shall make all
tax deposits as required by the Internal Revenue Service and the State of Florida.

   6. Monthly Operating Reports and Quarterly Payments to United States Trustee. By the 21st day of the
month succeeding the reporting period, Debtor shall file the monthly Debtor−in−Possession Monthly
Operating Report in the format required by the United States Trustee. Under Local Rule 2081−1, Small
Business Debtors, as defined in 11 U.S.C. § 101(51D), shall include a Schedule of Receipts and
Disbursements in addition to the Small Business Monthly Operating Report. Debtor shall timely remit to the
United States Trustee the quarterly fees required by 28 U.S.C. § 1930(a)(6).

   7. Cooperation with United States Trustee. Debtor shall cooperate with the United States Trustee by
furnishing such additional information as the United States Trustee may reasonably require in supervising the
administration of the estate. Debtor shall attend, through its senior management and counsel, any initial debtor
interview required by the United States Trustee.

   8. Disclosure Statement and Plan of Reorganization. If this case is a small business case as defined by
11 U.S.C. § 101(51C), (51D), Debtor shall file a plan within 180 days from the date of the order for relief
under chapter 11 or by such other date set by the Court. Otherwise, Debtor shall file a disclosure statement and
plan of reorganization no later than 120 days from the date of the order for relief under Chapter 11 or by such
other date set by the Court. Any motion for an enlargement of time to file a disclosure statement and plan shall
be filed before 120 days from the date of the order for relief under Chapter 11 or by such other date set by the
Court and shall state good cause for such relief.

   9. Failure to Comply. Debtor's failure to comply with any of the provisions of this Order shall constitute
cause for the dismissal or conversion of this case.

   10. Retention of Jurisdiction. The Court retains jurisdiction to alter, modify, amend, revoke, enforce,
and impose sanctions with respect to each provision of this Order.
